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                  UNITED STATES DISTRICT COURT
     FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.1)
                               Eastern Division

Umer Malik, et al.
                                  Plaintiff,
v.                                                   Case No.: 1:23−cv−01182
                                                     Honorable Virginia M. Kendall
Prairie Raynor LLC, et al.
                                  Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, January 8, 2025:


        MINUTE entry before the Honorable Virginia M. Kendall. Status and Motion
hearing held on 1/8/2025. Plaintiffs' Unopposed Motions to Reassign Cases 24 C 11565
Nowakowski v. Chojnacki [195] and 24 C 11404 Lanzetta v. 11902 Longwood LLC [193]
are granted. Cases 24 C 11565 Nowakowski v. Chojnacki and 24 C 11404 Lanzetta v.
11902 Longwood LLC will be reassigned to Judge Kendall as related. Plaintiffs advised
they will be filing Motions to Freeze Assets in certain cases. Plaintiffs shall file the
Motions to Freeze Assets on or before 1/10/2025. Responses due by 1/24/2025; Replies
due by 1/31/2025. Motions to Dismiss, including those those pertaining to cross−claims,
that were previously stricken without prejudice shall be re−filed. Amended Complaints
shall be filed by 1/24/2025. Defendants shall Answer or otherwise plead by 2/14/2025.
Answers to Declaratory Judgment actions shall be filed by 2/3/2025. Replies due by
2/17/2025. End of Fact Discovery is Ordered closed by 9/19/2025. End of Fact Discovery
Status hearing is set for 9/22/2025 at 9:30 AM. All Pleadings shall be filed separately in
each case, as the cases are related, not consolidated. The Court sets as a placeholder for
Jury Trial the weeks of 1/26/2026 and 2/2/2026. The Court requests the Executive
Committee reassign 24 C 11565 Nowakowski v. Chojnacki and 24 C 11404 Lanzetta v.
11902 Longwood LLC to this Court based on relatedness. Mailed notice(lk, )




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